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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                :
 In re:                                                         :   Chapter 11
                                                                :
 ORION HEALTHCORP, INC 1.                                       :   Case No. 18-71748 (AST)
                                                                :
                   Debtors.                                     :   (Jointly Administered)
                                                                :
 HOWARD M. EHRENBERG IN HIS                                     :
 CAPACITY AS LIQUIDATING TRUSTEE OF                             :   Adv. Pro. No. 20-08051 (AST)
 ORION HEALTHCORP, INC., ET AL.,                                :
                                                                :
                                             Plaintiff,         :
                                                                :
 v.                                                             :
                                                                :
 ELENA SARTISON; 2 RIVER TERRACE                                :
 APARTMENT 12J, LLC; CLODAGH BOWYER                             :
 GREENE A/K/A CLODAGH BOWYER;                                   :
 ELLIOTT GREENE,                                                :

                                             Defendants,

   JUDGMENT GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
  IN PART AS AGAINST DEFENDANT 2 RIVER TERRACE APARTMENT 12J, LLC

  The Court, having considered the Motion for Summary Judgment, or In the Alternative,

Summary Adjudication (the “Motion”)(Dkt No. 42), dated December 1, 2020 of Plaintiff,

Howard M. Ehrenberg in his capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al.,

(the “Plaintiff” or the “Liquidating Trustee”) seeking entry of judgment against Defendant 2



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 203, Middletown, NJ 07748.
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River Terrace Apartment 12J, LLC (the “Defendant”); the accompanying Affidavit of Jeffrey P.

Nolan in Support of Motion for Summary Judgment or in the Alternative Summary Adjudication

Against Defendant 2 River Terrace Apartment 12J, LLC (Dkt. No. 44); the Affidavit of Daniel

Jones in Support of Motion for Summary Judgment or in the Alternative Summary Adjudication

Against Defendant 2 River Terrace Apartment 12J, LLC (Dkt. No. 45); the Request for Judicial

Notice in Support of Plaintiff's Motion for Summary Judgment or in the Alternative Summary

Adjudication Filed (Dkt. No. 46); the Memorandum of Law In Support of Defendant 2 River

Terrace Apartment 12J, LLC’s Opposition to Plaintiff’s Motion For Summary Judgment or

Summary Adjudication (Dkt. No. 50; the Statement of Undisputed Facts in support of

Defendant's Opposition to Plaintiff's Motion for Summary Judgment (Dkt No. 51); the Reply

Brief In Support of Plaintiff's Motion for Summary Judgment, or in the Alternative, Summary

Adjudication as Against Defendant 2 River Terrace Apartment 12J, LLC (Dkt No. 52); the

Affidavit of Jeffrey P. Nolan in Support of Reply to Plaintiff's Motion for Summary Judgment or

in the Alternative, Summary Adjudication (Docket No. 53); the Second Affidavit of Daniel Jones

in Support of Reply to Motion for Summary Judgment or in the Alternative, Summary

Adjudication Against Defendant 2 River Terrace Apartment 12J, LLC (Docket No. 54); the Joint

Statement of Plaintiff and Defendant of Uncontroverted Facts with Reference to Plaintiff's

Motion for Summary Judgment or in the Alternative Summary Adjudication (Dkt. No. 55);the

Motion to Strike and Evidentiary Objections To Exhibits Submitted in Support of Defendant’s

Opposition (Dkt. No. 56); and the Court having held a hearing on the Motion on January 21,

2021 (the “Hearing”); and the Court having duly considered the argument of counsel at the

Hearing; and the Court having determined that the legal and factual bases set forth in the Motion

and all pleadings filed by the Trustee in support of the Motion establish sufficient cause for the
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relief requested in the Motion to the extent granted herein, and that no genuine issues of material

fact exist which preclude entry of any of the relief granted herein; and after due deliberation

thereon; and good and sufficient cause appearing therefor as stated in the record at the Hearing to

Issue Ruling on Plaintiff’s Motion as heard on February 9, 2021(the “Ruling Hearing”);

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

               1.       The Motion to Strike and Evidentiary Objections To Exhibits Submitted in

Support of Defendant’s Opposition (Dkt. No. 56) is granted in all respects as stated on the

record.

               2.       The Motion is granted with respect to the Plaintiff’s Fourth Cause of

Action to Avoid a Constructively Fraudulent Transfer under 11 U.S.C. §544 and N.Y. Debtor

and Creditor Law §§272-275, and §273-a, as against Defendant 2 River Terrace Apartment 12J,

LLC, as the transfers of the funds as described in the Motion which were used to purchase the

real property located at 2 River Terrace, condominium unit, located in, New York, NY (the

“Condominium Unit”) and the transfer of legal title to the Condominium Unit to Defendant 2

River Terrace Apartment 12J, LLC (“2 River Terrace”), were not made in good faith or for fair

consideration to the Debtor Constellation Healthcare Technologies, Inc. (“CHT”), were made at

the time that the transferor was insolvent or was thereby rendered insolvent, and were made at a

time that the transferor was a judgment debtor on an unsatisfied judgment, all as stated in detail

on the record of the Ruling Hearing.

               3.       The Motion is granted with respect to the Plaintiff’s Sixth Cause of Action

for Recovery of Legal and Equitable Title to the Condominium Unit from the Defendant to the

Plaintiff as Defendant 2 River Terrace is the initial transferee of an avoided transfer as stated in

detail on the record.
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               4.      The transfer of legal title to the Condominium Unit by deed Recorded or

filed in the Office of the City Register of the City of New York on February 19, 2016 to

Defendant 2 River Terrace Apartment 12J, LLC, (the “Deed”) is hereby avoided pursuant to 11

U.S.C. §544, and N.Y. Debtor & Creditor Law §§ 273-275, et seq. as a fraudulent conveyance.

Legal title to the Condominium Unit is hereby vested solely with the Plaintiff, Howard M.

Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al., as the

Condominium Unit is an asset of the Debtor’s estate recoverable pursuant to 11 U.S.C. §§544

and 550 & N.Y. Debtor and Creditor Law §§273-275, et seq;

               5.      It is hereby declared that the Condominium Unit, in the possession,

custody or control of Defendant 2 River Terrace was acquired with funds of the Debtor CHT,

and: (a) is property of the Debtors’ estates, (b) the Deed conveyed to the Defendant is avoided

and the Defendant has no ownership interest in the Condominium Unit, and (c) all equitable and

legal ownership of the Condominium Unit, including all authority to perform all acts as the unit

owner/property owner including without limitation to effect occupancy and to interact with the

Residential Board of Managers as current owner of the Condominium Unit effective as of the

date of the Ruling Hearing, together with all burdens and obligations of the unit owner, is vested

in the Plaintiff as the duly authorized representative of the Debtors’ estate and who is

empowered to execute any and all documents, as necessary, with the City of New York, the

appropriate county Recorder’s Office, or the Office of the City Register, consistent with the

ruling of the Court;

               6.      Defendant 2 River Terrace, including any manager, member or employee,

is Ordered to perform all acts required to effect the turnover of ownership, possession,

occupancy and control of the Condominium Unit, including all associated keys, and entrance
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cards, to counsel for Plaintiff, Ilan Scharf, at the Law Offices of Pachulski Stang, Ziehl & Jones

LLP located at 780 Third Avenue, 34th Floor, New York, NY within twenty (20) days of the

entry of this Order;

               7.      The Motion is denied without prejudice with respect to the Plaintiff’s

Third Cause of Action to Avoid an Intentionally Fraudulent Transfer under 11 U.S.C. §544 and

N.Y. Debtor and Creditor Law §276, as a triable issue of fact remains and as stated in detail on

the record.

               8.      Plaintiff’s request for the award of attorney’s fees and a monetary award

as set forth in the Motion is denied, without prejudice, as stated in detail on the record.

               9.      The Bankruptcy Court retains jurisdiction to implement and enforce this

Order.




                                                               ____________________________
 Dated: March 1, 2021                                                    Alan S. Trust
        Central Islip, New York                              Chief United States Bankruptcy Judge
